                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:10 cr 64-3


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
JOSE GUADALUPE MIRANDA,                      )
                                             )
                  Defendant.                 )
________________________________________     )


        THIS MATTER coming on before the undersigned, pursuant to a motion filed

by John M. Olesiuk, attorney for defendant entitled “Motion for Status of Counsel

Hearing and Motion for Continuance” (#20). At the call of this matter on for hearing

it appeared that defendant was present and Mr. Olesiuk was present and the

government was present and represented by Assistant United States Attorney Tom

Kent.    It appeared that the defendant had retained Mr. Olesiuk and had now

determined to retain Calvin E. Coleman to represent him and to relieve Mr. Olesiuk

of any further responsibility in the matter. Mr. Coleman has made an appearance in

this matter and will be representing defendant. For such good cause, the motion of

Mr. Olesiuk requesting a review of the status of counsel will be allowed and Mr.

Olesiuk will be allowed to withdraw as attorney for defendant.

        In regard to the motion for continuance, this motion will be denied by the

undersigned. The district court has jurisdiction over such matters and any motion to




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continue will need to be presented to the district court.



                                       ORDER

      IT IS, THEREFORE, ORDERED that the motion entitled “Motion for Status

of Counsel Hearing and Motion for Continuance” (#20) is hereby ALLOWED in part

and DENIED in part. Mr. Olesiuk will be ALLOWED to withdraw as counsel for

defendant for the reason that defendant has now retained Calvin E. Coleman to

represent him in this matter. The portion of the motion requesting a continuance of

the trial of this matter will be DENIED without prejudice subject to a motion properly

presented to the district court.



                                           Signed: January 4, 2011




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